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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  MCALLEN DIVISION

 In Re:                                               §
                                                      §
     GARCIA GRAIN TRADING                             §        Case No. 23-70028-EVR-11
     CORP.,                                           §
                                                      §
                           Debtor.                    §
                                                      §
     RICHARD S. SCHMIDT,                              §
     TRUSTEE OF THE GARCIA                            §
     GRAIN CHAPTER 11 TRUST,                          §
                                                      §
                           Plaintiff                  §        Adversary No. _________________
                                                      §
     v.                                               §
                                                      §
     FAUSTO SALINAS and F&T                           §
     FARMS & CATTLE, CO.,                             §
                                                      §
                           Defendants                 §


                 COMPLAINT TO RECOVER PROPERTY OF THE ESTATE
                          PURSUANT TO 11 U.S.C. § 542(b)


TO THE HONORABLE EDUARDO V. RODRIGUEZ, U.S. Bankruptcy Judge:

          NOW COMES, RICHARD S. SCHMIDT, TRUSTEE OF THE GARCIA GRAIN

CHAPTER 11 PLAN TRUST (“Schmidt” or “Plaintiff”), who is the Trustee of the Plan Trust

and the former Chief Restructuring Officer (CRO) of the Debtor, GARCIA GRAIN TRADING

CORP. (the “Debtor” or “Garcia Grain”) in the above-captioned case, and files this Complaint

to Recover Property of the Estate Pursuant to 11 U.S.C. § 542(b) against Defendants, FAUSTO

SALINAS (“Salinas”) and F&T FARMS & CATTLE, CO. (“F&T”) (collectively “Defendants”),

and pursuant to FED. R. BANKR. PROC. 7001 and 11 U.S.C. § 542(b), and other applicable law,


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would show as follows:

                                                     I.
                                                  PARTIES

     1.       The Plaintiff in this action is Richard S. Schmidt, as Trustee of the Garcia Grain

              Chapter 11 Plan Trust (“Schmidt” or “Plaintiff”), who is the former Chief

              Restructuring Officer (CRO) of the Debtor, Garcia Grain Trading Corporation (the

              “Debtor” or “Garcia Grain”) in the underlying Bankruptcy Case. Schmidt, in his

              capacity as the Trustee of the Garcia Grain Chapter 11 Plan Trust, is an individual

              residing in Texas, and can be served at 555 N. Carancahua St. Ste 331, Corpus Christi,

              Nueces County, Texas 78401.

     2.       Defendant, FAUSTO SALINAS (“Salinas”) is an individual residing at 2104 Western

              Rd., Mission, Hidalgo County, Texas, 78572-8990 and may be served through his

              attorney of record, Jose W. Hernandez, Esq. of Law Office of Jose W. Hernandez,

              PLLC, 206 W. Stubbs Street, Edinburg, Hidalgo County, Texas 78539 [see

              Bankruptcy Dkt #568 filed on November 30, 2023].

     3.       Defendant F&T FARMS & CATTLE, CO. (“F&T”) is a Texas corporation with its

              principal place of business at 2104 Western Rd., Mission, Hidalgo County, Texas,

              78572-8990, and mailing address at P.O. Box 308, Sullivan City, Texas 78595, may

              be served through its attorney of record, Jose W. Hernandez, Esq. of Law Office of

              Jose W. Hernandez, PLLC, 206 W. Stubbs Street, Edinburg, Hidalgo County, Texas

              78539 [see Bankruptcy Dkt #568 filed on November 30, 2023].

                                                II.
                                     JURISDICTION AND VENUE




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     4.       This Court has subject matter jurisdiction over this Adversary Proceeding pursuant to

              28 U.S.C. § 1334 and Bankruptcy Rule 7001 because the claims and causes of action

              asserted in this Complaint arise in and under Title 11, and relate to cases filed under

              Title 11 and pending in the United States Bankruptcy Court for the Southern District

              of Texas, McAllen Division, under Case No. 23-70028-EVR-11.

     5.       The claims and causes of action set forth herein concern the turnover of estate property

              under 11 U.S.C. § 542(b). Accordingly, this adversary proceeding is a “core”

              proceeding to be heard and determined by the Bankruptcy Court pursuant to 28 U.S.C.

              § 157(b)(2)(E). Plaintiff consents to entry of a final judgment by this Court.

     6.       Venue is appropriate in this jurisdiction pursuant to 28 U.S.C. § 1409.

                                                  III.
                                          PLAINTIFF’S EXHIBITS

     7.       Plaintiff attaches the following exhibits to this Complaint:

              Exhibit A – Garcia Grain Invoice No. 19538 ($63,138.55) and Invoice No. 19593

              ($31,134.72)

              Exhibit B – Garcia Grain Summary of Goods and Services Provided to Defendants

              Exhibit C – Garcia Grain Demand Letter to Defendants (November 6, 2023)

              Exhibit D – Attorney Response to Demand Letter (January 18, 2024)

     8.       In addition, Plaintiff attaches the sworn Affidavit of Octavio Garcia, the principal of

              the Debtor.

                                          IV.
                            BACKGROUND OF THE CASE AND FACTS




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     9.       On February 17, 2023 (the “Petition Date”), the Debtor filed its voluntary petition for

              relief under Chapter 11 of Title 11 of the United States Code, 11 U.S.C. § 101, et seq.

              (the “Bankruptcy Code”).

     10.      On August 15, 2023, Plaintiff, Richard S. Schmidt, was appointed the Chief

              Restructuring Officer (CRO) of the Debtor, Garcia Grain Trading Corporation, by the

              Court’s Agreed Order Granting Debtor’s Emergency Motion to Employ Richard S.

              Schmidt, Retired U.S. Bankruptcy Judge as Its Chief Restructuring Officer [Dkt

              #429].

     11.      On February 26, 2024, the Debtor filed Debtor’s Modified and Supplemented Third

              Amended Chapter 11 Plan of Reorganization (“Plan”) [Bankruptcy Dkt #762], which

              was confirmed on March 5, 2024 [Bankruptcy Dkt #845]. Plaintiff, Richard S.

              Schmidt, was named the Trustee of the Garcia Grain Chapter 11 Plan Trust which was

              created pursuant to the terms of the Plan. Under the terms of the Plan, all causes of

              action, whether asserted or unasserted, belonging to the bankruptcy estate have been

              transferred to Richard S. Schmidt, the Trustee of the Garcia Grain Chapter 11 Plan

              Trust. It is under this authority that Plaintiff is bringing this action.

     12.      Prior to the Petition Date, Garcia Grain, sold fertilizer and agricultural chemicals and

              provided labor and transportation to Salinas and F&T. In exchange for the goods and

              services provided, Defendants, Salinas and F&T, agreed to pay Garcia Grain a total

              amount of $94,273.27 for Garcia Grain’s delivery of fertilizer and agricultural

              chemicals to Salinas between February 24, 2022 and September 28, 2022 ($63,138.55

              for Invoice No. 19538) and work done between May 25, 2022 and December 30, 2022




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              ($31,134.72 for Invoice No. 19593). However, Defendants failed to pay Garcia Grain

              for those sums as agreed.

     13.      On November 6, 2023, Plaintiff sent Salinas and F&T a Demand Letter demanding

              payment for the amount. However, as of the filing of this Petition, Defendants, Salinas

              and F&T, failed to pay Garcia Grain the amounts due and owing.

     14.      In support, Plaintiff attaches “Exhibit A” showing unpaid charges for Garcia Grain’s

              delivery of fertilizer and agricultural chemicals to Salinas between February 24, 2022

              and September 28, 2022 ($63,138.55 for Invoice No. 19538) and work done between

              May 25, 2022 and December 30, 2022 ($31,134.72 for Invoice No. 19593) totaling

              $94,273.27, “Exhibit B” showing the summary of goods and services corresponding

              to those charges, “Exhibit C” showing the Demand Letter sent to Salinas and F&T on

              November 6, 2023, and “Exhibit D” showing Attorney Jose W. Hernandez’s

              Response to the Demand Letter on January 18, 2024.

                                                    V.
                                             CAUSES OF ACTION

                                  COUNT ONE – Breach of Contract

     15.      Plaintiff incorporates the allegations and assertions of fact contained in paragraphs 1

              through 14 above and elsewhere in this Complaint.

     16.      Debtor and Defendants had a valid contract for goods and services.

     17.      Debtor sold goods to and performed services for Salinas and F&T under the contract.

              See Exhibit A and B. Specifically, Debtor, Garcia Grain, sold fertilizer and

              agricultural chemicals and had them delivered to the premises of Defendants. In

              exchange for the goods and services provided, Defendants agreed to pay Garcia Grain

              $94,273.27.



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     18.      On November 6, 2023, Plaintiff sent Defendants, Salinas and F&T, a Demand Letter

              (see “Exhibit C”) to which Defendants responded through their attorney, Jose W.

              Hernandez, on January 18, 2024 (see “Exhibit D”); but Defendants failed to pay the

              amounts due.

     19.      Defendants have materially breached the contract by failing to pay Plaintiff for goods

              provided and services rendered.

     20.      Plaintiff has been damaged by Defendants’ breach in the amount of the money owed,

              plus attorney’s fees, costs and expenses of filing this suit. For this cause of action,

              Plaintiff seeks liquidated damages as well as pre- and post-judgment interest at the

              highest lawful rate, attorney’s fees, costs and expenses.

                                   COUNT TWO – Quantum Meruit

     21.      Plaintiff incorporates the allegations and assertions of fact contained in paragraphs 1

              through 20 above and elsewhere in this Complaint.

     22.      In addition or in the alternative to the cause of action for breach of contract, Salinas

              and F&T are bound by an implied agreement to pay Garcia Grain for the goods and

              services it accepted and received from Garcia Grain. (See Exhibits A and B). Despite

              receiving the Demand Letter (see Exhibit C) and responding to it (see Exhibit D),

              Defendants, Salinas and F&T, have not paid Garcia Grain for the amounts due.

     23.      Defendants knew or should have known that Garcia Grain expected compensation for

              these goods and services.

     24.      Quantum meruit is an equitable theory of recovery intended to prevent unjust

              enrichment when there is an implied agreement to pay for benefits received. Hill v.

              Shamoun & Norman, LLP, 544 S.W.3d 724, 732 (Tex. 2018).




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     25.      Plaintiff has been damaged by Defendants’ breach in the amount of the money owed,

              plus attorney’s fees. For this cause of action, Plaintiff seeks liquidated damages as

              well as pre- and post-judgment interest at the highest lawful rate, attorney’s fees, costs

              and expenses.

                                 COUNT THREE – Suit on an Account

     26.      Plaintiff incorporates the allegations and assertions of fact contained in paragraphs 1

              through 25 above and elsewhere in this Complaint.

     27.      Although, strictly speaking, “suit on sworn account” is a procedural device to pursue

              a contractual claim under TEX. R. CIV. P. 185, which is a procedural rule not binding

              in federal courts, nevertheless, regardless of whether this cause of action is called “suit

              on account,” “suit on an open account,” or “suit on sworn account,” case law indicates

              that it is an underlying substantive cause of action separate from TEX. R. CIV. P. 185

              and therefore recognized in federal courts, and it is under this cause of action that

              Plaintiff brings this claim. See SM Energy Co. v. Smackco, Ltd., No. 11-CV-3028,

              2012 WL 4760841, at *5 (S.D. Tex. Oct. 5, 2012) (citing Sunshine Traders of El Paso,

              Inc. v. Dolgencorp, Inc., 219 Fed. Appx. 375, 377 (5th Cir.2007)).

     28.      Debtor, Garcia Grain, sold goods and services, i.e., sold fertilizer and agricultural

              chemicals and provided labor and transportation, to Salinas and F&T, Defendants, for

              the benefit of the Defendants. (See Exhibits A and B). The prices charged were just

              and true because they were the usual, customary, and reasonable prices for the type of

              work and the goods and services provided for this type of transaction. Debtor kept a

              systematic record of the transactions at issue. (See Exhibits A and B). All lawful

              offsets, payments, and credits have been applied to the account. The account remains

              unpaid.


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     29.      Plaintiff files this petition under oath, as shown by the attached verification. (See the

              Affidavit of Octavio Garcia attached to this Complaint and incorporated herein for all

              purposes).

     30.      On November 6, 2023, Plaintiff sent Defendants, Salinas and F&T, a Demand Letter

              (see “Exhibit C”) which was received by Defendants and Defendants responded to it

              through their attorney on January 18, 2024 (see “Exhibit D”). As a result of

              Defendants’ failure to pay, Plaintiff suffered liquidated damages in the principal

              amount of $94,273.27.

     31.      For this cause of action, Plaintiff seeks liquidated damages as well as pre- and post-

              judgment interest at the highest lawful rate, attorney’s fees, costs and expenses.

                                                 VI.
                                           ATTORNEY’S FEES

     32.      Plaintiff presented its demand for payment to Defendants, but Plaintiff’s demand has

              gone unpaid. As a result of Defendants’ failure to pay, as described above, Plaintiff

              was forced to hire the undersigned attorneys to prosecute this cause of action, and it

              has agreed to pay its attorneys’ reasonable and necessary fees and expenses in order

              to do so. Pursuant to TEX. CIV. PRAC. & REM. CODE Chapter 38, Plaintiff is entitled to

              recover reasonable and necessary attorney fees and expenses for having to bring this

              action because this suit is for a sworn or open account or an oral or written contract.

                                         PRAYER FOR RELIEF

        WHEREFORE, the Plaintiff RICHARD S. SCHMIDT, TRUSTEE OF THE GARCIA

GRAIN CHAPTER 11 PLAN TRUST, (“Plaintiff”) prays that citation be issued against

Defendants, FAUSTO SALINAS (“Salinas”) and F&T FARMS & CATTLE, CO. (“F&T”), and

that Defendants be required to answer this Complaint, and that upon trial of this cause that the



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Court enter judgment against the Defendants pursuant to 11 U.S.C. § 542(b) and all applicable

law, finding the amount due to Plaintiff totaling $94,273.27 to be property of Garcia Grain’s

bankruptcy estate, ordering the amount of $94,273.27 be turned over to the Garcia Grain Chapter

11 Plan Trust, allowing for recovery of reasonable and necessary attorney’s fees, and for such

other relief as the Court deems just and equitable.



                                                    Respectfully Submitted,

                                                    MULLIN HOARD & BROWN, L.L.P.
                                                    P.O. Box 2585
                                                    Lubbock, Texas 79408-2585
                                                    Telephone: (806) 765-7491
                                                    Facsimile: (806) 765-0553
                                                    Email: drl@mhba.com

                                                    /s/ David R. Langston___________________
                                                    David R. Langston, SBN: 11923800
                                                    Southern District Bar No. 9489
                                                    Özen E. Zimmerman, SBN: 24097659
                                                    Southern District Bar No: 3846489
                                                    Attorneys for the Debtor, Garcia Grain Trading
                                                    Corp.




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                           VERIFICATION AND EXHIBITS




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                                              VERIFICATION

STATE OF TEXAS            §
                          §
COUNTY OF ___HIDALGO_____ §

        On this day, personally appeared before me, the undersigned Notary Public, OCTAVIO
GARCIA, the affiant, whose identity is known to me. After I administered an oath to him, upon
his oath, affiant testified as follows:

        1. “My name is OCTAVIO GARCIA. I am over eighteen (18) years of age, and I am
           capable of making this affidavit. The facts stated in this affidavit are within my personal
           knowledge and are true and correct.
        2. “Plaintiff, in this case, is Richard Schmidt, Trustee of Garcia Grain Chapter 11 Plan
           Trust and the former Chief Restructuring Officer (CRO) of the Debtor, Garcia Grain
           Trading Corporation (“Garcia Grain” or the “Debtor”). Garcia Grain is a corporation
           created under the laws of Texas. I am the owner and director of the Debtor.
        3. “On February 17, 2023 (“Petition Date”), Garcia Grain filed its voluntary petition for
           relief under Chapter 11 of Title 11 of the United States Code, 11 U.S.C. § 101, et seq.
           (the “Bankruptcy Code”).
        4. “Defendants, in this case, are FAUSTO SALINAS (“Salinas”), an individual residing
           in Texas, and F&T FARMS & CATTLE, CO. (“F&T”), a Texas corporation
           (collectively, “Defendants”).
        5. “Prior to the Petition Date, Garcia Grain furnished labor and services at the request of
           Salinas and F&T for Garcia Grain’s delivery of fertilizer and agricultural chemicals to
           Salinas between February 24, 2022 and September 28, 2022 ($63,138.55 for Invoice
           No. 19538) and work done between May 25, 2022 and December 30, 2022 ($31,134.72
           for Invoice No. 19593) totaling $94,273.27.
        6. “There was not a written contract done for those transactions that constitute the subject
           matter of this lawsuit, but such transactions were conducted on an open account, as was
           the customary practice between the two parties, under which Garcia Grain sold
           fertilizer and agricultural chemicals and provided labor and transportation to Salinas
           and F&T, Defendant, for the benefit of Salinas and F&T.
        7. “For the goods and services Garcia Grain provided to Salinas and F&T, Salinas and
           F&T incurred an obligation to pay Garcia Grain the amount of $94,273.27 (“Claim
           Amount”). A systematic record of the transactions at issue has been kept during normal
           course of business, and a copy of all invoices and a summary of those transactions are
           attached to the Complaint as Exhibits A and B.
        8. “Based on my personal knowledge and experience, the invoices Garcia Grain is seeking
           payment on are just and true and are due in the amounts stated. Further, all lawful



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                                    Richard S. Schmidt
                             United States Bankruptcy Judge (retired)
                                    615 Leopard St. Suite 635
                                    Corpus Christi, TX 78401

361-244-9333                                                                   rss@judgerss.com

                                         November 6, 2023

Via First Class Mail To:
Fausto Salinas and F&T Farms & Cattle Co.
P.O. Box 308
Sullivan City, Texas 78595

Via First Class Mail To:
F&T Farms & Cattle Co.
c/o Fausto Salinas
2104 Western Rd
Mission, Texas, 78572-8990


       RE:     Request for payment of unpaid debt in relation to Garcia Grain’s delivery of seed,
               fertilizer, and/or agricultural chemicals to Fausto Salinas and F&T Farms & Cattle
               Co. between February 24, 2022 and September 28, 2022 for Invoice No. 19538
               (in the amount of $63,138.55) totaling $63,138.55

Dear Fausto Salinas and F&T Farms & Cattle Co.:

        This letter is in relation to your unpaid debt to Garcia Grain Trading Corporation
(“Garcia Grain”). On February 17, 2023 (the “Petition Date”), Garcia Grain filed its voluntary
petition for relief under Chapter 11 of Title 11 of the United States Code, 11 U.S.C. § 101, et
seq. (the “Bankruptcy Code”). The Bankruptcy Case styled and numbered In re: Garcia Grain
Trading Corporation; Case No. 23-70028-EVR-11 in the U.S. Bankruptcy Court for the
Southern District of Texas, McAllen Division. I have been appointed by the United States
Bankruptcy Court as a Chief Restructuring Officer (“CRO”) for Garcia Grain in its Bankruptcy
Case.

        I am writing to you on behalf of Garcia Grain to demand payment of the amounts due and
owing to Garcia Grain for the seed, fertilizer, and/or agricultural chemicals sold by Garcia Grain
to you, Mr. Fausto Salinas, and your company, F&T Farms & Cattle Co. (“Fausto Salinas and
F&T Farms & Cattle Co.”) between February 24, 2022 and September 28, 2022. In exchange
for the goods and services provided, you and Fausto Salinas and F&T Farms & Cattle Co. agreed
to pay Garcia Grain $63,138.55 (the “Claim Amount”).

        This letter and the enclosed copy of the summary sheet and a true and correct copy of
Invoice No. 19538 (in the amount of $63,138.55) showing unpaid charges for Garcia Grain’s
delivery of seed, fertilizer, and/or agricultural chemicals to Fausto Salinas and F&T Farms &
Cattle Co. totaling $63,138.55 (enclosed hereto as “Exhibit A”) are being sent to you to demand
the amount that has accrued and is past due according to your agreement with Garcia Grain.

        If you will forward to the undersigned the amount of $63,138.55 (the “Claim Amount”)
within thirty (30) days of this letter, we can all then put this matter to rest. If you fail to forward
       Case 23-70028 Document 952 Filed in TXSB on 12/31/24 Page 58 of 59
Fausto Salinas and F&T Farms & Cattle Co.
November 6, 2023
Page 2



the Claim Amount or otherwise respond to this letter within thirty (30) days, we will have to
immediately initiate a lawsuit in the United States Bankruptcy Court to collect this debt. If that
happens, in accordance with the Texas Civil Practice and Remedies Code § 38.001 et seq. you
will be liable for the attorney’s fees and costs of collecting this debt in addition to the Claim
Amount. In the event that we obtain judgment against you, that judgment will continue to accrue
interest at the statutory rate until fully paid.

        Should you have any questions concerning this claim, please contact me.

                                                    Yours very truly,


                                                    __________________________________
                                                    Richard S. Schmidt, the Chief Restructuring
                                                    Officer for Garcia Grain Trading
                                                    Corporation


cc:
Enclosures as stated
      Case 23-70028 Document 952 Filed in TXSB on 12/31/24 Page 59 of 59




                                                                                   206 W Stubbs Street
                                                                                 Edinburg, Texas 78539
Jose W. Hernandez                                                                        (956) 603-2058
jwh@jwhernandezlaw.com                                                              (fax) 956-467-4571




                                          January 18, 2024

VIA EMAIL rss@judgerss.com AND FIRST CLASS MAIL

Judge Richard S Schmidt
615 Leopard Street. Suite 635
Corpus Christi, Texas 78401

      Re: Dispute of Debt and Request for Account History- Fausto Salinas and F&T Farms &
          Cattle Co.- Invoice 19538

Dear Judge Schmidt:

       Thank you for your last response with the supporting documents that support Garcia Grain
claim against F&T Farms. After review on the documents provided, my client asserts that all
balances owed for these invoices were paid to Garcia Grain by F&T Farms at the time of its yearly
disbursement.

        My client has advised me that Garcia Grain would withdraw all owed invoices prior to
F&T Farms receiving the final payment by Garcia Grain. My client asserts that Invoices
52949126, 52949673, 19092, 19194, 19211, and 19243 and the payment for these invoices were
retained by Garcia Grain prior to F&T Farms receiving their payment for deliveries to Garcia
Grain.

        In order to clear this confusing into the F&T Farms account with Garcia Grain, my client
is requesting an account history for the last 5 years to include the following:

          1. All documents showing deliveries by F&T Farms to Garcia Grain;
          2. All documents showing payments for F&T Farms deliveries to Garcia Grain;
          3. All invoices paid on behalf of F&T Farms to any third party for product delivered to
             F&T Farms; and
          4. All checks made to F&T Farms by Garcia Grain.

          Thank you for your attention to this matter. If you have any questions, please contact my
office.
                                               Sincerely,


                                               Jose W. Hernandez
